                                                   Case 2:14-cr-00169-KJM Document 113 Filed 01/08/16 Page 1 of 3


                                            1   Kresta Nora Daly, SBN 199689
                                                Mikhail Parnes, SBN 300922
                                            2   BARTH DALY LLP
                                                431 "I" Street, Suite 201
                                            3   Sacramento, California 95814
                                                Telephone: (916) 440-8600
                                            4   Facsimile: (916) 440-9610
                                                Email: kdaly@barth-daly.com
                                            5
                                                Attorneys for Defendant
                                            6   JASVIR KAUR

                                            7

                                            8                                        IN THE UNITED STATES DISTRICT COURT

                                            9                                      FOR THE EASTERN DISTRICT OF CALIFORNIA

                                           10

                                           11   UNITED STATES OF AMERICA,                                     ) Case No. 2:14-CR-00169-GEB
                                                                                                              )
                                           12                           Plaintiff,                            ) STIPULATION AND [PROPOSED]
                                                                                                              ) ORDER
               S ACRAMENTO , C ALIFORNIA




                                           13              v.                                                 )
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                                                                                              )
                                           14   MOHAMMAD SHAHBAZ KHAN, HARJIT                                 )
                                                                                                              )
                                                JOHAL, and JASVIR KAUR                                        )
                                           15                                                                 )
                                                                         Defendants.                          )
                                           16                                                                 )
                                           17

                                           18              Plaintiff United States of America, by and through its counsel of record, and defendants

                                           19   Mohammad Khan, Harjit Johal and Jasvir Kaur, by and through their counsel of record, hereby

                                           20   stipulate as follows:

                                           21              1.           By previous order, this matter was set for a status conference on January 8, 2016.

                                           22              2.           By this stipulation, defendants now seek to move the status hearing to March 18,

                                           23   2016. The defendants seek to exclude time under Local Code T4. Plaintiff does not oppose this

                                           24   request.

                                           25              3.           The parties agree and stipulate, and request that the Court find the following:

                                           26                           a.         On or about October 1, 2015 the grand jury returned a superseding

                                           27   indictment. The superseding indictment adds Jasvir Kaur as a defendant in this case. Ms. Kaur

                                           28   was arraigned on October 6, 2015.

                                                {00017872}
                                                Stipulation and [Proposed] Order                              1                        [Case No. 2:14-CR-00169-GEB]
                                                      Case 2:14-cr-00169-KJM Document 113 Filed 01/08/16 Page 2 of 3


                                            1                           b. The government has forwarded discovery to counsel for Ms. Kaur. The

                                            2   discovery is voluminous. Counsel for Ms. Kaur is currently preparing for a 4-6 week trial in

                                            3   United States v. Lee Loomis, et al. and is unable to devote sufficient time and attention to this

                                            4   matter until the conclusion of the aforementioned trial.

                                            5                           c.         An exclusion of time is appropriate as to Misters Khan and Johal in order

                                            6   to provide for continuity of counsel.

                                            7                           d.         The government does not object to the continuance.

                                            8                           e.         Based on the above-stated findings, the ends of justice served by

                                            9   continuing the case as requested outweigh the interest of the public and the defendants in a trial

                                           10   within the original date prescribed by the Speedy Trial Act.

                                           11                           f.         For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

                                           12   3161, et seq., within which trial must commence, the time period of January 8, 2016 to March 18,
               S ACRAMENTO , C ALIFORNIA




                                           13   2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14   T4] because it results from a continuance granted by the Court at each defendant’s request on the

                                           15   basis of the Court's finding that the ends of justice served by taking such action outweigh the best

                                           16   interest of the public and the defendants in a speedy trial.

                                           17                           g.         This case involves multiple witnesses, multiple defendants; both

                                           18   defendants and the witnesses require interpreters.

                                           19              4.           Nothing in this stipulation and order shall preclude a finding that other provisions

                                           20   of the Speedy Trial Act dictate that additional time periods are excludable from the period within
                                           21   which a trial must commence.

                                           22   IT IS SO STIPULATED.

                                           23   DATED:                  January 6, 2016
                                                                                                  /s/ Kresta Daly for _______________
                                           24                                                     Jared Dolan
                                                                                                  Assistant United States Attorney
                                           25

                                           26   ///
                                           27   ///

                                           28   ///
                                                {00017872}
                                                Stipulation and [Proposed] Order                               2                         [Case No. 2:14-CR-00169-GEB]
                                                   Case 2:14-cr-00169-KJM Document 113 Filed 01/08/16 Page 3 of 3


                                            1   DATED:                  January 6, 2016
                                                                                          /s/ __Kresta Daly         ___________
                                            2                                             Kresta Nora Daly
                                                                                          Counsel for Defendant Jasvir Kaur
                                            3

                                            4   DATED:                  January 6, 2016   /s/ __Kresta Daly for   ___________
                                                                                          Gilbert Roque
                                            5                                             Counsel for Defendant Mohammad Khan
                                            6
                                                DATED:                  January 6, 2016
                                            7                                             /s/ __Kresta Daly for   ___________
                                                                                          Olaf Hedberg
                                            8                                             Counsel for Defendant Harjit Johal
                                            9

                                           10
                                                                                               ORDER
                                           11
                                                           IT IS SO FOUND AND ORDERED.
                                           12
                                                Dated: January 7, 2016
               S ACRAMENTO , C ALIFORNIA




                                           13
B ARTH D ALY LLP
                   A TTORNEYS A T L AW




                                           14

                                           15

                                           16

                                           17

                                           18

                                           19

                                           20
                                           21

                                           22

                                           23

                                           24

                                           25

                                           26
                                           27

                                           28
                                                {00017872}
                                                Stipulation and [Proposed] Order                     3                       [Case No. 2:14-CR-00169-GEB]
